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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                              CIVIL ACTION FILE
                          Plaintiff,
vs.                                           NO. 18-04070-MLB
E.S. REAL ESTATE CONSORTIUM,
INC., a Georgia corporation;
CONSORTIUM TITLE, LLC, a Virginia
limited liability company; INTEGRITY
SETTLEMENT SERVICES, LLC, a
Florida limited liability company;
ANEAKA ENGLISH,an individual;
CASITA SIMPSON,an individual; and
COLEEN THOMAS; an individual,
                          Defendants.


   PLAINTIFF'S MOTION TO EXTEND TIME FOR SERVICE PURSUANT TO
                        FED. R. CIV. P.4(m)

       NOW COMES Plaintiff, Lima One Capital Special Servicing, Inc. ("Lima

One") in the above-captioned case and hereby respectfully submits this

motion for enlargement of time for Plaintiff to serve Consortium Title, LLC;

Casita Simpson; and Coleen Thomas pursuant to Fed. R. Civ. P. 4(m). In

support thereof, Lima One states as follows:

       1.     Lima One filed this action on August 28, 2018.

       2.     Pursuant to Fed. R. Civ. P. 4(m), Lima One is required to serve all

defendants within 90 days of filing the complaint, unless good cause is shown

for its failure.
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      3.    Lima One has diligently attempted to serve Consortium Title, LLC,

Casita Simpson, and Coleen Thomas ("Remaining Defendants") as required.

      4.    Plaintiff mailed waivers of service to all Remaining Defendants on

October 18, 2018, but it received no responses by the November 17, 2018

deadline.

      5.    Plaintiff attempted to personally serve Coleen Thomas in Virginia

based on information provided by its process server. Exhibit A.

      6     It has come to Plaintiff's attention that the Coleen Thomas

identified in Virginia may not be the proper Coleen Thomas, and an

investigation is underway to determine an appropriate address for the proper

defendant named Coleen Thomas.

      7.    Plaintiff attempted to personally serve Casita Simpson in Florida.

Her mother answered the door, but refused to accept service on her behalf.

Exhibit B. Casita Simpson is aware of the ongoing litigation, but she has

refused to execute a waiver of service. Exhibit C.

      8.    Plaintiff attempted to serve Consortium Title, LLC by serving its

registered agent pursuant to Fed. R. Civ. P. 4(h), but the summons and

complaint were returned without signature.




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     9.    Plaintiff intends to file a Motion requesting alternate service on

the Remaining Defendants if its request for additional time to serve the

Remaining Defendants is granted.

      WHEREFORE, Plaintiff, Lima One Capital Special Servicing, Inc.

respectfully requested that this Honorable Court grant its Motion pursuant to

Fed. R. Civ. P. 4(m) and allow Lima One an additional 60 days to effectuate

service of process on Coleen Thomas, Casita Simpson, and Consortium Title,

LLC. A proposed Order is attached as Exhibit D.

                                   Respectfully submitted,

                                        /s/Emily M. CQyle
                                   Emily M. Coyle, MI Bar No. P74123
                                   (ADMITTED PRO HAC VICE)
                                   ecoyle@)plunkettcooney.com
                                   PLUNKETT COONEY,P.C.
                                   38505 Woodward Avenue, Suite 100
                                   Bloomfield Hills, MI 48304
                                   Telephone: (248) 594-8613
                                   Facsimile: (248)901-4040
                                   Ronald G. Polly, Jr.
                                   Georgia Bar No. 583264
                                   rpollyPhptylaw.com
                                   303 Peachtree Street, NE
                                   Suite 4000
                                   Atlanta, Georgia 30308
                                   Telephone:(404)614-7400
                                   Facsimile: (404)614-7500
                                   Attorneysfor Plaintiff




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                                       PROOF OF SERVICE

                      The undersigned certifies that on the 26th day of
                      November, 2018, a copy of the foregoing document
                      was served upon the attorney(s) of record in this
                      matter at their stated business address as
                      disclosed by the records herein via:

                              Hand Delivery          Overnight Mail
                              U.S. Mail              Facsimile
                              E-Mail                 Electronic E-File

                     I declare under the penalty of perjury that the
                     foregoing statement is true to the best of my
                     information, knowledge and belief.

                                       /s/Doreen Stanard
                                         Doreen Stanard

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                       EXHIBIT A
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:18-cv-4070

                                                    PROOF OF SERVICE
                    (This section sltould not befiled with the court unless required by Fed. R. Civ. P. 4(1))

       This summons for(name of individual and title, if any) Coleen Thomas aka Coleen Gerow was received by me on
(date) Aug 30, 2018, 12:45 pm.

                I personally served the summons on the individual at (place)                            on (date)
                                           ; or

        L I Iperson
              left the summons at the individual's residence or usual place of abode with (name)
                     of suitable age and discretion who resides there, on (date)
                                                                                                                              ,a
                                                                                                            , and mailed a copy
                to the individual's last known address; or
          - I served the summons on (name of individual)                                 , who is designated by law to accept
          - service of process on behalf of(name of organization)                                on (date)
                                    ; or

        IXI     I returned the summons unexecuted because: No one would answer the door. Defendant most likely avoiding
                service.. ; or
                Other:                              ; or

        My fees are $                               for travel and $                      for services, for a total of $


        I declare under penalty of perjury that this information is true.


Date: 09/10/2018




                                                                   Bryan Rodgers
                                                                                      Printed name and title


                                                                   1133 13th Street NW, Suite C4, Washington, DC 20005
                                                                                         Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: Aug 31, 2018, 3:47 pm EDT at Home: 41.1.11111111111111111.111111111111110
Knocked on door and rang bell with no answer. Front door was open and a blue Toyota Camry was in the driveway but no one
answered the door.

2) Unsuccessful Attempt: Sep 4, 2018, 3:39 pm EDT at Home.
Rang doorbell and knocked on door several times with no answer. No movement heard inside. The car was not in the driveway
on this attempt.

3) Unsuccessful Attempt: Sep 7, 2018, 4:51 pm EDT at Hom
Knocked on door and rang bell several times with no answer. Front door was open. Blue Toyota with license plate JXH-8964
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in the driveway. Most likely avoiding service.
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                       EXHIBIT B
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9/4/18

Telephone call from process server Barry Ross re service update re Casita Simpson

He went to the address we gave him and a woman there at first responded to the name but
when she found out there were papers being served she said she was not Casita Simpson.
Barry thinks judged on the research he did she may have been Casita's mother. I gave him
another address that the Accurint showed may also be a current address and he is going to
try that address to see if she is there.



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Coyle, Emily

From:                                 barry ross <barryrossinc@yahoo.com>
Sent:                                 Monday, September 17, 2018 12:51 PM
To:                                   Stanard, Doreen
Subject:                              Fw: Document - Sep 12, 2018, 11:59 AM
Attachments:                          Doc - Sep 12 2018 - 11-59 AM.pdf



Please confirm receipt of the attached Invoice emailed to you 9-12. Also on 2nd address 5865 Caribbean Blvd
Apt 2301 Palm Beach Gardens, Fl 33407. Per property manager defendant moved no forwarding information.
It's a new tenant at address per manager. Only other address I have for Casita is in Tallahassee.

Sent from Yahoo Mail on Android

     Forwarded Message
From: "barry ross" <barryrossincla)yahoo.com>
To: "Doreen Stanard" <dstanard@plunkettcooney.com>
Sent: Wed, Sep 12, 2018 at 12:05 PM
Subject: Document - Sep 12, 2018, 11:59 AM
Hi Doreen, here's invoice on Casita Simpsom for 1st address. So far no answer at door at 2nd address. Will try to verify with
community office. They were closed when I was there. Regards, Barry ScannedurboScan.

Sent from Yahoo Mail on Android
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                       EXHIBIT C
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Coyle, Emily

From:                         Casita Simpson <casita@simpson-assoc.corn>
Sent:                         Thursday, September 20, 2018 5:23 PM
To:                           Coyle, Emily
Subject:                      LIMA ONE CAPITAL v. E.S REAL ESTATE CONSORTIUM



Atty. Coyle:

Good day. It was brought to my attention that your client is suing me for a loan that was taken. I was not
involved with this transaction. However, I need to find an attorney to represent me and defend me with
this law suit. I am asking for more time to respond to the complaint so that I am able to find an attorney
that can represent me.

Thank you in advance.

Casita Simpson
561-307-7949


Sent from my iPhone




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                        EXHIBIT D
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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                             CIVIL ACTION FILE
                        Plaintiff,
vs.                                          NO. 18-04070-MLB

E.S. REAL ESTATE CONSORTIUM,
INC., a Georgia corporation;
CONSORTIUM TITLE,LLC,a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES,LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON,an
individual; and COLEEN THOMAS; an
individual,

                        Defendants.


            ORDER GRANTING PLAINTIFF'S MOTION TO EXTEND
            TIME FOR SERVICE PURSUANT TO FED.R.CIV.P.4(m)

      Plaintiff, Lima One Capital Special Servicing, Inc., having filed its Motion

to Extend Time for Service Pursuant to Fed. R. Civ. P. 4 (m), and this Court

having reviewed the Motion and being otherwise fully advised in the

premises,
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        IT IS HEREBY ORDERED that Plaintiff's Motion is granted. Plaintiff shall

be allowed an additional 60 days from the date of this Order to effectuate

service of process on Coleen Thomas, Casita Simpson, and Consortium Title,

LLC.

        This                  day of            , 2018.



                                            UNITED STATES DISTRICT JUDGE




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